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                                 RAJAN & RAJANATTORNEYS AT LAW
                                              info@rajanandrajan.com

 Paul R. Rajan, Esq. Δ                                                   3146 State Route 27, Suite 202
 Mahesh Rajan, Esq. Δ                                                    Kendall Park, NJ 08824
 Kavita Bindra, Esq. Δ *                                                 (732) 283-1955 Ph
 Oscar A. Escobar, Jr., Esq.                                             (732) 283-1877 Fax
 Navin H. Advani, Esq.                                                            Please reply to [X]
 Jordan B. Dascal, Esq. Δ
 Punita K. Amin, Esq. à                                                  1419 Oak Tree Road
 _________________                                                       Iselin, NJ 08830
 Also Member of NY Bar Δ
 Also Member of PA Bar à
                                                                         (732) 321-0201 Ph
 Not Admitted in NJ – Practice Limited to                                (732) 321-9115 Fax
 Immigration Law*                                                                  Please reply to [ ]
                                                    May 11, 2017

Via CM/ECF and Priority Mail

Honorable Judge Kevin McNulty
United States District Court, District of New Jersey
Martin Luther King, Jr. Federal Building and U.S. Courthouse
50 Walnut Street, Room PO 04
Newark, New Jersey 07101

            RE:           Progressive Spine & Orthopaedics, LLC v. Anthem Blue Cross Blue Shield
                          Docket No.: 2:17-cv-00536-KM-MAH / Our File No.: 394-15

Dear Judge McNulty:

        I represent Progressive Spine & Orthopaedics, LLC (“Progressive Spine”). I am writing
to provide a sur-sur-reply in response to Anthem Blue Cross Blue Shield’s (“Anthem”) sur-reply
to Progressive Spine’s motion to remand. D.E. 15.

       Anthem appears to explain the applicable law about sur-replies. While sur-replies require
permission and are generally not permitted, they are occasionally permitted for unusual
circumstances such as material misstatements. Id. Here, I write to correct such, and therefore
request that the court considers this sur-sur-reply.

       Anthem continues a consistent theme from its opposition to the remand motion: bold
statements that mischaracterize the facts. Without relevant proof, Anthem’s sur-reply focuses
heavily on arguing that payment was made pursuant to the Volt Plan instead of pursuant to the
independent agreement between Anthem and Progressive Spine.

       Progressive Spine’s statement was based on the evidence. Progressive Spine’s office
manager, Kori Sheridan, certified that it had no knowledge that it was dealing with a self-funded
ERISA plan until after the independent payment agreement was made and surgery performed.
D.E. 10, Sheridan Dec., ¶¶ 8, 12, 15.

        Anthem’s explanation, that everything was paid according to the Volt Plan, makes no
sense. The surgical assistant (a certified physician’s assistant) was paid almost seven times as
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much as the surgeon.1 Assistants are typically paid far less than the surgeon, typically only 10-
30%. Id. at ¶¶ 1, 10-13.

        In contrast, Progressive Spine’s explanation makes sense. The assistant’s services were
paid as Progressive Spine expected based on the independent contract. See fn. 1. The likely
explanation is simple: the assistant was paid based on the independent agreement, but the
surgeon was inexplicably paid based on the ERISA plan instead. See Jaasma v. Shell Oil Co.,
412 F.3d 501, 509 (3d Cir. 2005) (“New Jersey courts have given great weight to the parties'
course of conduct in discerning the intent of the parties.”) (internal quotes omitted).

       Anthem claims that its sur-reply exhibit indicates that Progressive Spine knew about the
Volt Plan. This is wrong. But even if true, it is irrelevant. The key fact here is that Progressive
Spine never knew about it until after the independent contract was made and after surgery was
performed. Id. at ¶ 8, 12. Whether that was a month (under Anthem’s theory), or sixteen months
(as Progressive Spine explained), is largely irrelevant.

        If Anthem wanted to make clear that there was a self-funded ERISA plan, it could have
easily done so. It could label the insurance card and all related correspondence with the name of
the Volt Plan. For whatever reason, it failed to do so.

         Critically, Anthem provides no proof for its claims. Nothing in the attachment to
Anthem’s sur-reply mentions ERISA or indicates a self-funded plan. Anthem cites to nothing
else in the record, and provides no other evidence. Progressive Spine certified that thought it was
negotiating based on an insurance contract instead of a self-funded plan. Id. at ¶ 15. Anthem
offers nothing to contradict that, other than the unsupported musings of its counsel.

        Should you have any questions, kindly contact this office. Thank you for your courtesies.

                                              Very truly yours,
                                              RAJAN & RAJAN, LLP

                                              /s/ Jordan B. Dascal, Esq.
                                              JORDAN B. DASCAL, ESQ.
cc: Client (via email only)
    Amanda L. Genovese, Esq. (via cm/ecf)




1
 Progressive Spine billed $60,458.00, expecting full payment for the surgeon’s work and an
additional 10-30% for the surgical assistant’s work, or $6,045.30 to $18,135.90. Id., ¶¶ 1, 10-13,
Ex. C. Anthem paid the surgeon was paid only $2,381.97. Id. at ¶ 14. In contrast, Anthem paid
surgical assistant was paid $16,750.00. Id. at ¶¶ 12-13.
